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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

CHARLES CRABLE,

       Plaintiff,

v.                                                     Case No. 6:16-cv-1825-Orl-37TBS

PREMIER BATHS, INC.,

      Defendant.
_____________________________________

                                        ORDER

       Plaintiff initiated this action against Defendants Premier Baths, Inc. (“Premier”)

and Billy Kelly (“Mr. Kelly”), alleging violations of the Fair Labor Standards Act

(“FLSA”). (See Doc. 1.) In his two-count complaint, Plaintiff seeks to impose judgment

“jointly and severally.” (Id. at 12.) Following service of process, Mr. Kelly moved to

dismiss the claims against him. (Doc. 9 (“MTD”).) Plaintiff then moved for entry of

default against Premier for failing to appear. (Doc. 11.) The Clerk entered default

(Doc. 12), and Plaintiff then moved for default judgment against Premier (Doc. 13).

       On December 12, 2016, the Court granted Mr. Kelly’s MTD and permitted Plaintiff

to file an amended complaint on or before December 27, 2016. (Doc. 16.) Two days later,

the Court denied Plaintiff’s motion for default judgment without prejudice given the

posture of the case against Mr. Kelly and the potential for inconsistent judgments against

jointly liable defendants if the Court entered default judgment against Premier only.

(Doc. 17.)


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       More than a year after Plaintiff initiated this case, the parties inched this case

forward and stipulated to the dismissal of Plaintiff’s claims against Mr. Kelly with

prejudice. (Doc. 42.) Consequently, the Court terminated him as a party on November 20,

2017. (Doc. 44). With Mr. Kelly out of the picture, it seemed likely that Plaintiff would

renew his motion for default judgment against Premier. Plaintiff did not. So, on

December 12, 2017, the Court ordered Plaintiff to show cause on or before December 22,

2017, why this case should not be dismissed for failure to prosecute. (Doc. 44 (“Show

Cause Order”).) To date, Plaintiff has not responded to the Show Cause Order and still

has not moved for default judgment.

       Based on Plaintiff’s dilatory conduct, the Court finds that his claims against

Premier are due to be dismissed without prejudice for lack of prosecution. See

Local Rule 3.10(a); see also Fed. R. Civ. P. 16(f) (setting forth Court’s authority to enter

“any just orders” where a party fails to obey a pretrial order). Should Plaintiff choose to

pursue his claims against Premier, he must do so by filing a new action and paying a new

filing fee. Counsel is forewarned that ignoring Court Orders is not tolerated and that the

better course is to seek an extension of time to respond.

       Accordingly, it is hereby ORDERED AND ADJUDGED that:

       1.     Plaintiff’s claims against Premier Bath, Inc. (Doc. 18, ¶¶ 62–81) are

              DISMISSED WITHOUT PREJUDICE for failure to prosecute. The Court

              reminds the parties that, absent Court approval, any settlement agreement

              between Plaintiff and Premier Baths, Inc. is not enforceable.

       2.     The Clerk is DIRECTED to close the file.

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      DONE AND ORDERED in Chambers in Orlando, Florida, on January 3, 2018.




Copies to:
Counsel of Record




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